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                           MDL 2327 - EXHIBIT A

                            Originating       Originating     SDWV – MDL
         Plaintiffs          District          Case No.      Member Case No.

                         Oklahoma Western     5:14-cv-691      2:14-cv-27057
Diana Wade
Cheryle Thornabar
Mona Swofford
Cruz Talavera
Shirley Tanner
Elizabeth Tarin
Catherine Tarr
Heather Tassier
Karrie Templeman
Blanca Terry
Terri Thomas
Connie Thurmond
Scott Thurmond
Lillian Trevino Tillis
Colleen Todd
Leslie Vanaskey
Julie Ann Vandestouwe
Sara Victora
Tonya Vogt
Carol Wagner
Pam Walker
Carol Warner
Glena Watson
Janet Webb
Terri Webb
Carrie White
Teresa Whiteley
Janice Whitlock
Dorothy Wiggins
Sandra Wilkinson
Annelle Willard
Destiny A. Willey
Leellen Williams
Kewanda Williams
Cathy Wilson
Venus Witt
Geraldine Wolf
Mary Wood
Christine Woodrow
Daria Worley
Teresa Wright
Paulette Wright
Trenda Wright
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                            Originating       Originating     SDWV – MDL
         Plaintiffs          District          Case No.      Member Case No.

                         Oklahoma Western     5:14-cv-691      2:14-cv-27057
Janice Wright
Gussie Kelly Wyatt
Pansy Wynn
Deborah Young
Hilda Zamora
E. Louise Zeller
